
THE plaintiff instituted an action of debt in the District Court of Prince Edward, in September, 1798, against the defendant on a bond conditioned for the payment of SOL The bond bore date the 18th July, 1798, and was not on stamped paper. The defendant objected to the bond going in evidence to the jury, on the ground that it was not duly stamped, pursuant to the act of congress in such case made and provided: by consent a juror was withdrawn, and the point was adjourned to the general court for novelty and difficulty.
November 14th, 1800. The general court decided, *129“ that the bond in the said .record mentioned, ought not “ to be permitted to go in evidence to the jury on the “ trial of the cause, because the said bond is not stamped' “ agreeably to the act of congress intituled, “ an act “ laying duties on stamped vellum, parchment, and “ paper.”
Note. The question in this case was, whether the act of congress was constitutional or not. Some persons had supposed, that congress had no power to change the rules of evidence itr the state courts: the general court, however, were of opinion that, as congress had power to lay and collect taxes, duties, imposts and excises, and to make all laws necessary and proper for carrying into execution the specified powers, the aforesaid act was within the limits of their chartered authority.
